23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


   In re:

   JUST ONE DIME COACHING, LLC, et. al.
                                                          Case No. 22-10783-TMD
                                                                Chapter 7
   Debtors


   MICHAEL OAKES et al.

   vs.                                                       ADV. PRO. NO. 23-
                                                                01036-SMR
   DANILO V ARRIALE; et al.


                 PLAINTIFFS' STATEMENT REGARDING CONSENT


            TO THE HONORABLE SHAD M. ROBINSON, UNITED STATES

  BANKRUPTCY JUDGE:


            On January 18, 2024, this Court issued an Order Requiring Statement

  Regarding Consent (Doc. #15).


         The Minns Firm Plaintiffs (named individually in Appendix A attached

  hereto), by and through their undersigned counsel, hereby expressly state that they




  Plaintiffs' Stmt. Re Consent                                            Page 1 o£4
23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 2 of 6




  consent to entry of final orders and a final judgment by the Court (an Article I

  bankruptcy judge) in this adversary proceeding.

                                            'fe.{
        Respectfull y submitted on this 2 3 _.day of January, 2024.




                                                    Rain Levy Minns Udall
                                                    State Bar No. 24034581
                                                    Minns Law Firrn, P.C.
                                                    d/b/a Rain Minns Law Firm
                                                    4412 Spicewood Springs Rd., Suite 500
                                                    Austin, Texas 78759-8583
                                                    Tel.: 512-372-3222
                                                    Fax:512-861-2403
                                                    rain@rainm innslaw .com

                                                    ATTORNEY IN CHARGE FOR PLAINTIFFS
                                                    MINNS LAW FIRM CLIENTS' GROUP


                                 CERTIFICATE OF SERVICE


        Undersigne d counsel hereby certifies that a copy of this Statement Regarding

  Consent was served by U.S. Certified Mail, postage prepaid, Return Receipt

  Requested, on the following parties, and upon their counsel, if they have any, on
         rcJ.
  the 2 ~--day of January, 2024:


    Brett George                              Danilo Varriale
    cjo Bob Bragalone and Rees Wade           cj o Carl "Bo" Dawson
    Gordon Rees Scully Mansukhan i, LLP       Ryan & Dawson
    2200 Ross Ave., Suite 3700                770 South Post Oak Lane, Suite 600
    Dallas, TX 75201-2794                     Houston, TX 77056


  Plaintiffs' Stmt. Re Consent                                                 Page 2 o£4
23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 3 of 6




    David Lopez                            Travis Seth Kniep
    cj o Carl "Bo" Dawson                  cj o Michael Baumer
    Ryan & Dawson                          The Law Office of Michael Baumer
    770 South Post Oak Lane, Suite 600     POBox1818
    Houston, TX 77056                      Liberty Hill, TX 78642
   Josiah Kniep                            Kimberly Kniep
   cjo Michael Baumer                      cjo Michael Baumer
   The Law Office of Michael Baumer        The Law Office of Michael Baumer
   PO Box 1818                             PO Box 1818
   Liberty Hill, TX 78642                  Liberty Hill, TX 78642
    Audrey" Atalie" Kniep                  Patrick Cupillari/The Skunk Labs, LLC
    cjo Michael Baumer                     cj o Jeffrey A. Cooper, Esq.
    The Law Office of Michael Baumer       Rabinowitz, Lubetkin & Tully, LLC
    PO Box 1818                            293 Eisenhower Parkway, Suite 100
    Liberty Hill, TX 78642                 Livingston, NJ 07039
    Patrick CupillarijThe Skunk Labs, LLC 324 Main Street Property, LLC
    cjo Christopher L. Halgren            cj o Jeffrey A. Cooper, Esq.
    Elias M. Yazbeck                      Rabinowitz, Lubetkin & Tully, LLC
    McGinnis Lochridge LLP                293 Eisenhower Parkway, Suite 100
    609 Main St, Suite 2800               Livingston, NJ 07039
    Houston, TX 77002
    324 Main Street Property, LLC          Prophet Consultants, LLC
    cj o Christopher L. Halgren            c/o Jeffrey A. Cooper, Esq.
    Elias M. Yazbeck                       Rabinowitz, Lubetkin & Tully, LLC
    McGinnis Lochridge LLP                 293 Eisenhower Parkway, Suite 100
    609 Main St, Suite 2800                Livingston, NJ 07039
    Houston, TX 77002
    Prophet Consultants, LLC               Danmark, Inc.
    cj o Christopher L. Halgren            cj o Mike's Tax and Accounting, Inc.
    Elias M. Yazbeck                       296 University Dr., Suite B
    McGinnis Lochridge LLP                 Pembroke Pines, FL 33024
    609 Main St, Suite 2800
    Houston, TX 77002




  Plaintiffs' Stmt. Re Consent                                          Page3 o£4
23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 4 of 6




   Danvid, Inc.                            Dagabia, Inc.
   cj o Danilo Varriale                    c/o Mike's Tax and Accounting , Inc.
   17992 SW 41st St.                       296 University Dr., Suite B
   Miramar, FL 33029                      ·Pembroke Pines, FL 33024
   N2ECOM, LLC                            AKH Investment s, LLC
   c/o Brett George                       cj o Brett George
   Oklahoma City, OK 73179                4313 Bridge Wood Lane
                                          Oklahoma City, OK 73179
   BOH Solutions, LLC                     Victoria ECom, LLC
   c/o Brett George                       cjo LGA Services, LLC
   4313 Bridge Wood Lane                  5201 Blue Lagoon Dr., Suite 908
   Oklahoma City, OK 73179                Miami, FL 33126
   Luxeup, Inc.                            Victoria State, LLC
   cjo David Lopez                         cjo David Lopez
   15011 SW 11th St.                       15011 SW 11th St.
   Miami, FL 33194                         Miami, FL 33194
   VlegaciV, LLC                           Varbuck, LLC
   c/o Danilo Varriale                     c/o Republic Registered Agent, LLC
   19573 SW 42nd Ct.                       1150 NW 72nd Ave. Tower 1, Suite 455
   Miramar, FL 33029                       Miami, FL 33126
   Beardman Company Corp.                  E-Com Highway, LLP
   c/o Mike's Tax and Accounting , Inc.    c/o Brett George
   269 University Drive, Suite B           4000 Chesterfield Place
   Pembroke Pines, FL 33024                Oklahoma City, OK 73179
   Apex PSW, LLC
   c/o Brett George
   3611 Blue Stem Dr.
   Tuttle, OK 73089




                                             Rain Levy Minns Udall




  Plaintiffs' Stmt. Re Consent                                          Page 4 o£4
23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 5 of 6




                                       Appendix A
                                        Plaintiffs

  CLT # CLIENT/ENTITY

  1     Oakes, Michael I Ondeblu
  2     Jacome, Juan I Juela, LLC
  3     Gray, Patrice I Patrice Gray LLC
  4     Krichman, Travis
  5     Bonnici, Anton
  6     Mutendereki, Richard
  7     lremizi, David
  8     Franco, David
  9     Paniq 1, LLC
  10    Infinity 3, LLC
  11    Galan, Ben
  12    Fenzo, Luigi
  13    Zaman, Tanvir
  14    Loi, Tan
  15    Basaran, Gokhan
  16    Aalerud, Nick
  17    Knudsen, Tiffany I Tk Capita leo LLC
  17    Subach, Denice, and Deborah Vash I Launch Horse LLC
  18    White, John
  19    Kelley, lan
  20    Martiner, Gary I Lido Properties, LLC
  21    Simpson, Elizabeth
  22    Kidwai, Arshina & Asif Ansari I Pryme Cloud LLC
  23    Ta, Ngoc ('•Ivy'•)
  25    Habib, Shahnaz & Quazi Haque I IZZ Enterprise LLC
  26    Cosely, Melvin
  27    Donnelly, Sandra
  29    Cummings, Ryan
  30    Holzem, Loren
  31    McCumber, Teresa
  32    Looper, Sabrina
  33    Matsumoto, Gillie
  34    Mendez, Jose
  35    Appea, Yvonne and Alexander
  36    Truong,Leeann
  37    Duran, Michael (Don Miguel)
  38    Herrigel, Michael/ H3 Legacy Partners
  39    Hughes, Sian and Dan Madigan
23-01036-smr Doc#18 Filed 01/23/24 Entered 01/23/24 18:10:49 Main Document Pg 6 of 6




                                          Appendix A
                                     Plaintiffs (continued)

  CLT #   CLIENT/ENTITY

  40      Yang, Catherine/ WMB Studio PTE, Ltd
  41      Rector, Joe
  42      Pilakka, Justin I JOD Ecom LLC
  43      Teshome, Hermela
  44      Battung, Michael
  45      Lick, Ted I TWL Brands LLC
  46      Payumo, Jon
  47      Diaz, Carlos
  48      Amunson, Kristi
  49      Williams, Doug & Scott Gibson I Yellow Marble LLC IDS Works
  50      Kovalenko, Mattis
  51      Rivera-Martinez, Rodalys
  52      Gibbons, Darnell/ Ooboo Unlimited LLC
  53      DeSanctis, Mark
  54      Glavcheva, Veneta
  55      Wu, Julius & Diane
  56      Rendon, Andrew
  57      Au-Yeung, Simon
  58      Maese, Claudio
  59      VanOmmen, Justin & Courtney
  60      Rivard, Hannah
  61      Morgan, Maxine I Synergywise LLC
  62      Yanes Diez, Angela
  63      Fuller, John & Steven Pirovolikes
  64      Thorson, Evan
  65      Malik, Zona & Shmoon Asghar
  67      Baseer, Salman
  68      Portilla, Noe
